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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION



ADMIRAL INSURANCE COMPANY,

             Plaintiff,

v.                                            CASE NO. 4:20cv1-RH-CAS

PLAY SPORTS BAR, LLC,

          Defendant.
_________________________________/


                          ORDER CLOSING THE FILE


      The plaintiff has filed a notice of voluntary dismissal without prejudice. ECF

No. 16. The notice is effective without an order. See Fed. R. Civ. P. 41(a)(1)(A)(i);

Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012). This order

confirms that the case has been dismissed. The clerk must close the file.

      SO ORDERED on May 7, 2020.

                                s/Robert L. Hinkle
                                United States District Judge




Case No. 4:20cv1-RH-CAS
